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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1174V
                                    Filed: February 18, 2016
                                           Unpublished

****************************
COLT SANDERS,                          *
                                       *
                   Petitioner,         *      Damages Decision Based on Proffer;
                                       *      Influenza (“Flu”) Vaccine; Shoulder
                                       *      Injury Related to Vaccine Administration
SECRETARY OF HEALTH                    *      (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                    *      (“SPU”)
                                       *
                   Respondent.         *
                                       *
****************************
John Robert Howie, Jr., Howie Law, P.C., Dallas, Texas, for petitioner.
Lisa Ann Watts, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

      On October 9, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 [the
“Vaccine Act”]. Petitioner alleged that he suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine he received on
November 1, 2014. Petition at 1, ¶¶1-17. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

        On January 14, 2016, a ruling on entitlement was issued, finding petitioner
entitled to compensation. On February 18, 2016, respondent filed a proffer on award of
compensation [“Proffer”] stating petitioner should be awarded $93,246.15. Proffer at 1.
In the Proffer, respondent represents that petitioner agrees with the proffered award.


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Based on the record as a whole, the undersigned finds that petitioner is entitled to an
award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $93,246.15, in the form of a check payable to
petitioner, Colt Sanders. This amount represents compensation for all damages that
would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
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            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                       OFFICE OF SPECIAL MASTERS
_______________________________________
COLT SANDERS,                           )
                                        ) ECF
                        Petitioner,     )
                                       )
            v.                          ) No. 15-1174V
                                        ) Chief Special Master
SECRETARY OF HEALTH AND HUMAN ) Nora Beth Dorsey
SERVICES,                               )
                                        )
                        Respondent.     )
                                        )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

         On January 14, 2016, the Chief Special Master issued an Entitlement Ruling in this

conceded SIRVA case. Having reviewed petitioner’s demand and supporting information,

respondent recommends that compensation be awarded as outlined below.

I.      Items of Compensation

         Based upon the evidence of record, respondent proffers that petitioner should be

awarded $93,246.15 representing all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.

II.      Form of the Award

         Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $93,246.15 in the form of a check payable to petitioner.

Petitioner agrees.

                                                       Respectfully submitted,

                                                       BENJAMIN C. MIZER
                                                       Principal Deputy Assistant Attorney General

1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court for appropriate
relief. In particular, respondent would oppose any award for future medical expenses, future lost earnings, and
future pain and suffering.

                                                         1
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                                    RUPA BHATTACHARYYA
                                    Director
                                    Torts Branch, Civil Division

                                    VINCENT J. MATANOSKI
                                    Deputy Director
                                    Torts Branch, Civil Division

                                    MICHAEL P. MILMOE
                                    Senior Trial Counsel
                                    Torts Branch, Civil Division

                                     s/ Lisa A. Watts
                                    LISA A. WATTS
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Date: February 18, 2016.




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